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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA
                        Case No.: 21-CR-026 (CRC)

UNITED STATES OF AMERICA,
         Plaintiff,
    v.                                  Case No. 21-cr-026 (CRC)
CHRISTOPHER MICHAEL ALBERTS
           Defendant.
                    __________________________/

     ALBERTS PROPOSED JURY FIRST AMENDMENT AND SECOND
                 AMENDMENT INSTRUCTIONS

COMES NOW, Defendant, CHRISTOPHER                MICHAEL        ALBERTS,

(hereinafter, “Defendant” or “Alberts”), by and through undersigned counsel, with

these proposed First Amendment and Second Amendment jury instructions.


Proposed Instruction No. __
First Amendment Rights

Every person has the right to petition his or her government, and express ideas and
bring their concerns to their legislators. Citizens also have the right to peaceably
assemble with others to petition their government. And under the First
Amendment, a person has a constitutional right to make violent or antigovernment
statements and threats and may call upon others to act violently, except in rare
circumstances where the speaker knows such violent threats have an immediate
likelihood of getting others to immediately carry out such violence and reasonably
knows that others have the ability and are likely to carry out such threats.

These First Amendment rights apply to every count in the indictment. You may not
use the defendant’s protected speech, petitioning, advocacy or expression as
support for the government’s allegations. If you find that the defendant’s conduct
was First Amendment protected speech, expression, or advocacy, you must find
the defendant not guilty.

The United States Capitol is one of America’s largest public buildings. It is the
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headquarters of the Legislative Branch of government, where the American people
have broad rights to petition, advocate, protest, and meet with members of
Congress and staff in order to promote or prevent the advancement of
legislation or other congressional acts.


Proposed Instruction No. __
Second Amendment Rights

The Second Amendment protects an individual's right to carry a handgun for self-
defense outside the home.1 An individual may be restricted from carrying a
handgun in sensitive places, however. But public walkways, steps, or buffer zones
are not sensitive places. The law allows for carry bans “in” sensitive places—not
bans “around” or “near” sensitive places.2 If you find beyond a reasonable doubt
that the defendant carried a handgun in a sensitive place inside the U.S. Capitol on
January 6, 2021, you may find the defendant guilty of a firearm possession crime.

RESPECTFULLY SUBMITTED
/s/ Roger Roots, esq.
Cocounsel for Alberts

CERTIFICATE OF SERVICE
I hereby certify and attest that on April 17, 2023, I caused this document to be
uploaded into this Court’s electronic filing system, thereby serving it upon all
parties of record.
/s/ Roger Roots




1
 New York State Rifle & Pistol Association, Inc. v. Bruen, 142 S.Ct. 2111 (2022).
2
 Bruen, 142 S.Ct. 2111, 2133, 2134 (2022).See D. Kopel & J. Greenlee, The “Sensitive Places” Doctrine, 13
Charleston L. Rev. 205, 288 (2018).
